              Case 23-54300-sms                   Doc 1               Filed 05/08/23 Entered 05/08/23 08:58:59                     Desc P
                                                                           Page 1 of 59
  Fill in this information to identify your case:                                                  HLU      ct.t.HK'S OFFICE
                                                                                                   U.S. BANKRUPTCY    COURT
; United States Bankruptcy Court for the:                                                                    RN DISTRICT
                                                                                                     NORTHEORGIA
                                                                                                          OF GE
  Northern District of Georgia
                                             El
  Case number (If known):                                          Chapter you are filing under:   2023 MAY -8 AM 8: 52
                                                                   lir Chapter 7
                                                                   O Chapter 11                             WEGINA HO

23 w 54300
                                                                   • Chapter 12
                                                                   O Chapter 13                      autrA
                                                                                                   BY_-------ttrnended                      filing
                                                                                                           DEPUTY CLERK

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                             06/22

The bankruptcy forms use you and Debtor Ito refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


 Part 1:      Identify Yourself

                                     HiAbtititDebtor 1:                                             ;About 9:etitoe;::,(apbc.1te Only i0:6:JOIOCasgt):..
                                                                                                                              .
 1. Your full name
    Write the name that is on your
    government-issued picture
                                      ANNA
                                      First name                                                    First name
    identification (for example,
    your driver's license or          A.
    passport).                        Middle name                                                   Middle name

    Bring your picture                 CANADY
    identification to your meeting    Last name                                                     Last name
    with the trustee.
                                      Suffix (Sr., Jr., II, Ill)                                    Suffix (Sr., Jr., II, Ill)




 1. All other names you                ANNA
    have used in the last 8           First name                                                    First name
    years                              A.
    Include your married or           Middle name                                                   Middle name
    maiden names.                      McCALEP
                                      Last name                                                     Last name


                                      First name                                                     First name


                                       Middle name                                                   Middle name


                                      Last name                                                      Last name




 2. Only the last 4 digits of
    your Social Security              XXX                 —_6                  2           3   2     XXX      —xx—

    number or federal                  OR                                                            OR
    Individual Taxpayer
    Identification number             9)o( — xx —                                                    9 xx — xx —
     (ITIN)                                                                                                                                                  a,
                                                               44401rdif.0.04.4.3.934.1,0,..



 Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                               page 1
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 Debtor 1        ANNA                 A,                 CANADY                                           Case number (ifknown)
                 First Name   Middle Name                Last Name




                                        About
                                       11.


, 4.   Any business names
       and Employer                         0     I have not used any business names or EINs.                   0 I have not used any business names or EINs.
       Identification Numbers
       (EIN) you have used in
       the last 8 years                     Business name                                                       Business name
       Include trade names and
       doing business as names
                                            Business name                                                       Business name



                                            EIN


                                            EIN




  5. Where you live                                                                                             If Debtor 2 lives at a different address:



                                            2832 COUNTRY FARMS COURT
                                            Number          Street                                              Number          Street




                                            SNELLVILLE                               GA        30039
                                            City                                     State     ZIP Code         City                                     State     ZIP Code

                                            GWINNETT
                                            County                                                              County


                                            If your mailing address is different from the one                   If Debtor 2's mailing address is different from
                                            above, fill it in here. Note that the court will send               yours, fill it in here. Note that the court will send
                                            any notices to you at this mailing address.                         any notices to this mailing address.



                                            Number           Street                                             Number          Street


                                            P.O. Box                                                            P.O. Box


                                            City                                     State     ZIP Code         City                                     State     ZIP Code

                                                                                                                                                                              6



  6. Why you are choosing                   Check one:                                                          Check one:
     this district to file for
     bankruptcy                             El Over the last 180 days before filing this petition,               CI Over the last 180 days before filing this petition,
                                                   I have lived in this district longer than in any                    I have lived in this district longer than in any
                                                   other district.                                                     other district.

                                            0 I have another reason. Explain.                                    0 I have another reason. Explain.
                                                   (See 28 U.S.C. § 1408.)                                             (See 28 U.S.C. § 1408.)




       Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                           page 2
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Debtor 1       ANNA                 A,               CANADY                                       Case number (irknow.)
               First Name   Middle Name             Last Name




Part 2:      Tell the Court About Your Bankruptcy Case


7.   The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
                                          O Chapter 7
     under
                                          U Chapter 11

                                          •   Chapter 12
                                          •   Chapter 13


9. How you will pay the fee               U I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                            local court for more details about how you may pay. Typically, if you are paying the fee
                                            yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                            submitting your payment on your behalf, your attorney may pay with a credit card or check
                                            with a pre-printed address.

                                          •    need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                          •   I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9. Have you filed for                     id No
   bankruptcy within the
   last 8 years?                          U Yes. District                                When                        Case number
                                                                                                 MM/ DD / YYYY

                                                    District                              When                       Case number
                                                                                                 MM / DD / YYYY

                                                    District                              When                       Case number
                                                                                                 MM/ DD / YYYY



io. Are any bankruptcy                    O No
    cases pending or being
    filed by a spouse who is              U Yes. Debtor                                                              Relationship to you
    not filing this case with                       District                              When                       Case number, if known
    you, or by a business                                                                        MM / DD / YYYY
    partner, or by an
    affiliate?
                                                    Debtor                                                            Relationship to you

                                                    District                              When                       Case number, if known
                                                                                                 MM / DD / YYYY



      Do you rent your                    U No. Go to line 12.
      residence?                          0 Yes. Has your landlord obtained an eviction judgment against you?

                                                    O No. Go to line 12.
                                                     •   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1      ANNA                   A,                  CANADY                                    Case number (irkno.7)
              First Name    Middle Name                Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor             0 No. Go to Part 4.
    of any full- or part-time
    business?                             0 Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                   Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
                                                   Number          Street
    LLC.
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.
                                                       City                                                  State         ZIP Code


                                                   Check the appropriate box to describe your business:
                                                   O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                   U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                   •      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                   •      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                   O None of the above


13. Are you filing under                  If you are tiling under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                     choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                  are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
                                          most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                          if any of these documents do not exist, follow the procedure in 11 U.S.C. fj 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §               0 No.    I am not filing under Chapter 11.
    1182(1)?                              D No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                      the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).
                                          0 Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                   Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                          0 Yes.   I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




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Debtor 1     ANNA                   A,             CANADY                                       Case number (if known)
             First Name     Middle Name           Last Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               10 No
     property that poses or is
     alleged to pose a threat             U Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs
                                                    If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                    Where is the property?
                                                                             Number        Street




                                                                             City                                        State   ZIP Code




   Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                            page 5
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Debtor 1      ANNA                    A,                CANADY                                            Case number (if known)
              First Name     Middle Name              Last Name




Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling


15. Tell the court whether
                                                                                                                         pemp,”§"0,0,!0!,!#,!I oy:g,y1
    you have received a
    briefing about credit                  You must check one:                                                   You must check one:
    counseling.
                                                I received a briefing from an approved credit                    U I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                   filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit             certificate of completion.                                         certificate of completion.
    counseling before you file for
                                                Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
    bankruptcy. You must
                                                plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you                   I received a briefing from an approved credit                    U I received a briefing from an approved credit
    cannot do so, you are not                   counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                           filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                                plan, if any.                                                        plan, if any.
    you paid, and your creditors
    can begin collection activities        Ii   I certify that I asked for credit counseling                     Li I certify that I asked for credit counseling
    again.                                      services from an approved agency, but was                           services from an approved agency, but was
                                                unable to obtain those services during the 7                        unable to obtain those services during the 7
                                                days after I made my request, and exigent                           days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                 of the requirement.
                                                To ask for a 30-day temporary waiver of the                           To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                       requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                     what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                     you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                            bankruptcy, and what exigent circumstances
                                                required you to file this case.                                       required you to file this case.
                                                Your case may be dismissed if the court is                            Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                    dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                             briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must                 If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.               still receive a briefing within 30 days after you tile.
                                                You must file a certificate from the approved                         You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                     agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                     developed, if any. If you do not do so, your case
                                                may be dismissed.                                                     may be dismissed.
                                                Any extension of the 30-day deadline is granted                       Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                      only for cause and is limited to a maximum of 15
                                                days.                                                                 days.

                                           U I am not required to receive a briefing about                        U I am not required to receive a briefing about
                                             credit counseling because of:                                          credit counseling because of:

                                                U Incapacity.      I have a mental illness or a mental                U Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                              deficiency that makes me
                                                                   incapable of realizing or making                                      incapable of realizing or making
                                                                   rational decisions about finances.                                    rational decisions about finances.
                                                Li Disability.     My physical disability causes me                   U Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                      to be unable to participate in a
                                                                   briefing in person, by phone, or                                      briefing in person, by phone, or
                                                                   through the internet, even after I                                    through the internet, even after I
                                                                   reasonably tried to do so.                                            reasonably tried to do so.
                                                U Active duty. I am currently on active military                      U Active duty. I am currently on active military
                                                               duty in a military combat zone.                                       duty in a military combat zone.
                                                If you believe you are not required to receive a                      If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.                motion for waiver of credit counseling with the court.




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Debtor 1      ANNA                  A,               CANADY                                        Case number (if known)
             First Name    Middle Name             Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                     as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                             O No. Go to line 16b.
                                             RI Yes. Go to line 17.

                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                             • No. Go to line 16c.
                                             O Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                           El No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after Ri Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                           No
    administrative expenses
    are paid that funds will be        0 Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                   1-49                                0 1,000-5,000                                      25,001-50,000
    you estimate that you                0 50-99                                0 5,001-10,000                                 0 50,001-100,000
    owe?                                 0 100-199                              CI 10,001-25,000                               0 More than 100,000
                                         0 200-999                                                            1



19. How much do you                      El $0-$50,000                             $1,000,001-$10 million                         $500,000,001-$1 billion
    estimate your assets to                 $50,001-$100,000                       $10,000,001-$50 million                        $1,000,000,001-$10 billion
    be worth?                            0 $100,001-$500,000                       $50,000,001-$100 million                       $10,000,000,001-$50 billion
                                            $500,001-$1 million                    $100,000,001-$500 million                    0 More than $50 billion

20. HOW much do you                         $0-$50,000                             $1,000,001-$10 million                       0 $500,000,001-$1 billion
    estimate your liabilities               $50,001-$100,000                       $10,000,001-$50 million                        $1,000,000,001-$10 billion
    to be?                                  $100,001-$500,000                      $50,000,001-$100 million                       $10,000,000,001-$50 billion
                                            $500,001-$1 million                    $100,000,001-$500 million                    0 More than $50 billion
Part 7:    Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152,1341, 1519, and 3571.

                                                                                                        x
                                             Signature of Debtor 1                                           Signatu        of Debtor 2

                                             Executed on                                                    Executed on
                                                               MM I DD /YYYY                                                   MM / DD    /YYYY


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Debtor I      ANNA                    A,                 CANADY                                  Case number (if known)
              First Name      Middle Name             Last Name




For you if you are filing this              The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                       should understand that many people find it extremely difficult to represent
attorney                                    themselves successfully. Because bankruptcy has long-term financial and legal
                                            consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                     To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                     technical, and a mistake or inaction may affect your rights. For example, your case may be
                                            dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                            hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                            firm if your case is selected for audit. If that happens, you could lose your right to file another
                                            case, or you may lose protections, including the benefit of the automatic stay.

                                            You must list all your property and debts in the schedules that you are required to file with the
                                            court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                            in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                            property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                            also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                            case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                            cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                            Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                            If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                            hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                            successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                            Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                            be familiar with any state exemption laws that apply.

                                            Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                            consequences?
                                             •      No
                                             0 Yes

                                            Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                            inaccurate or incomplete, you could be fined or imprisoned?
                                             •      No
                                             O Yes

                                            Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                            O No
                                             LI Yes. Name of Person
                                                     Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                             By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                             have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                             attorney may cause me to lose my rights or property if I do not properly handle the case.




                                                  Signature of Debtor 1                                     Signature of Debtor 2

                                             Date                                                           Date
                                                                  MM / I D   /   YY                                         MM /    DD / YYYY

                                                 Contact phone                                              Contact phone


                                             Cell phone           (404) 707-5639                            Cell phone

                                                 Email address    anna,canady192@gmail.com                  Email address

giA:mmlazriliikraffEWIRMSEF                 TagaitiiffaMfairaBieWitHEENZIESNMINENAVAN               iiMaialiMMOMMINE' •                         MAW

   Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                 page 9
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 Fill in this information to identify your case:

  Debtor 1              ANNA                        A.                  CANADY
                        First Name                Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)   First Name                Middle Name                Last Name


  United States Bankruptcy Court for the:     Northern District of Georgia

  Case number
  (If known)                                                                                                                           CI Check if this is an
                                                                                                                                          amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                      04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


  Part 1:          Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

        0 Married
        El Not married


  2. During the last 3 years, have you lived anywhere other than where you live now?
           No
       1:1 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                Debtor 1:'                                                   Debtor                                                         iDates:Debtaei2
                                                                      lived there                                                            lived there


                                                                                            Same as Debtor 1                               El   Same as Debtor 1


                                                                      From                                                                      From
                 Number              Street                                                 Number Street
                                                                      To                                                                        To




                 City                           State ZIP Code                              City                    State ZIP Code


                                                                                         CI Same as Debtor 1                               0    Same as Debtor 1


                                                                      From                                                                      From
                 Number              Street                                                 Number Street
                                                                      To                                                                        To




                  City                          State ZIP Code                              City                    State   ZIP Code



   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        CY No
        CI Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


   Part 2: Explain the Sources of Your Income

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 1
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Debtor 1        ANNA                           A.                      CANADY                             Case number (if known)
                First Name      Middle Name            Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     0 No
           Yes. Fill in the details.




                                                              Sources of income           cross income               Sources of income         Gross income
                                                              Checicall that apply.       (before deductions         Chaol(al(thatapply.       (before deductions and
                                                                                                                                               exclusions)

                                                              10 Wages, commissions,                                 U Wages, commissions,
            From January 1 of current year until
                                                                 bonuses, tips
                                                                                                    35,000.00          bonuses, tips
            the date you filed for bankruptcy:
                                                              Li Operating a business                                1J Operating a business

                                                              0    Wages, commissions,                               O Wages, commissions,
            For last calendar year:
                                                                   bonuses, tips                    44,746.14           bonuses, tips
            (January Ito December 31 2021                   ) U    Operating a business                              Li Operating a business
                                              YYYY



                                                                   Wages, commissions,                               U Wages, commissions,
            For the calendar year before that:
                                                                   bonuses, tips                                       bonuses, tips
                                                                                                    20,779.21
            (January 1 to December 31,2020                  ) U    Operating a business                              U Operating a business
                                      YYYY



  5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
     U     Yes. Fill in the details.



                                                              Sources of topine           GitatilhdOnieifrtitti,       Sources of Income        Gross Income from
                                                                                          each source                  Describe below.         is000h:::$04rogi:   '
                                                              ipe$010e
                                                                                          (140f0W44441,00§ipoq                                 ,(befar&dedUCtions,:a00
                                                                                                                                               1#xelyslona):7::



             From January 1 of current year until
             the date you filed for bankruptcy:




             For last calendar year:

             (January1 to December 31,2021              )
                                               my




             For the calendar year before that:

             (January 1 to December 31,2020             )
                                               YYYY




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Debtor 1      ANNA                               A.                        CANADY                     Case number (If known)
               First Name        Middle Name              Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



  6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     0     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

               O No. Go to line 7.

               O Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                      total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

     0     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                El No. Go to line 7.

                •    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                             Dates.. of                           ,40,i4.0,q11yogg,0110*.   Waslibilscpaymontfor
                                                                             0a9ni9n.t!

                                                                                                                                            0 Mortgage
                       Creditor's Name
                                                                                                                                            0 Car
                       Number     Street
                                                                                                                                            D Credit card
                                                                                                                                            CI Loan repayment
                                                                                                                                            0 Suppliers or vendors
                        City                   State            ZIP Code
                                                                                                                                            CI Other


                                                                                                                                             U Mortgage
                        Creditor's Name
                                                                                                                                             CI Car
                                                                                                                                             0 Credit card
                        Number    Street
                                                                                                                                             Li Loan repayment
                                                                                                                                             LI Suppliers or vendors
                                                                                                                                             0 Other
                        City                   Stale            ZIP Code




                                                                                                                                             Li Mortgage
                        Creditor's Name
                                                                                                                                             CI Car
                                                                                                                                                Credit card
                        Number    Street
                                                                                                                                             U Loan repayment
                                                                                                                                             lj Suppliers or vendors

                                                                                                                                             U Other
                        City                   State            ZIP Code




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Debtor 1     ANNA                                 A.                  CANADY                           Case number (or known)
                  First Name       Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     Ei No
     U Yes. List all payments to an insider.
                                                                                       !otal amount1                            Reason for      payment
                                                                                                          q5wer'


           Insider's Name



           Number        Street




           City                                  State   ZIP Code




           Insider's Name


           Number        Street




           City                                  State   ZIP Code



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     El No
     U Yes. List all payments that benefited an insider.
                                                                        Dates of       Total amount        Amount you stilt!    Reason for this payment
                                                                        payment        paid                owe
                                                                                                                                Include creditor's name



           Insider's Name



           Number         Street




           City                                  State    ZIP Code




           Insider's Name



           Number         Street




           City                                  State    ZIP Cede




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Debtor 1      ANNA                              A.                      CANADY                                Case number (flow.)
               First Name         Middle Name           Last Name




  Part 4;     Identify Legal Actions, Repossessions, and Foreclosures
 9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

      Er No
      0 Yes. Fill in the details.
                                                               Natikeitifithe!cate                        Court Or agency'                          Status of the case


           Case title                                                                                !Court Name
                                                                                                                                                    CI   Pending

                                                                                                                                                    O    On appeal

                                                                                                     !Number      Street                            O    Concluded


           Case number
                                                                                                     i City                  State    ZIP Code
                                                                                                     !


                                                                                                                                                    O    Pending
           Case title                                                                                    Court Name
                                                                                                                                                    O    On appeal

                                                                                                         Number   Street                            O    Concluded


           Case number
                                                                                                     ICity                    State   ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

      al No. Go to line 11.
      0  Yes. Fill in the information below.

                                                                        IY:!Describe the property                                                 ValtieibflthaPropertV;



                Creditors Name



                Number      Street                                        Explain what happened

                                                                          •       Property was repossessed.
                                                                          O       Property was foreclosed.
                                                                          O       Property was garnished.
                 City                           State   ZIP Code          •       Property was attached, seized, or levied.
                                                                                                                                                         vv-y-
                                                                          Describe the                                                    te       Va ttelitittieliropitt
                                                                                  ,



                 Creditors Name



                 Number     Street



                                                                          O       Property was repossessed.
                                                                          O       Property was foreclosed.

                 City                           State   ZIP Code
                                                                           0      Property was garnished.
                                                                              0   Property was attached, seized, or levied.
                                                                                                                      -


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Debtor I          ANNA                             A.                     CANADY                       Case number hirknowl)
                   First Name     Middle Name             Last Name




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?

     Er    No
     0     Yes. Fill in the details.




           Creditor's Name



           Number       Street




           City                           State    ZIP Code       Last 4 digits of account number: XXXX-


  12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?

      10 No
      CI   Yes


1:23               List Certain Gifts and Contributions


  13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
      ki No
      0    Yes. Fill in the details for each gift.


             Gifts with a total valuoofincikethare.$600
             per person




           Person to Whom You Gave the Gift




           Number        Street



           City                            State   ZIP Code


           Person's relationship to you


           Gifts with a total value of                                scribe the gifts                                         Dates you!   aya
           per person                                                                                                          the gifts




            Person to Whom You Gave the Gift




            Number       Street



            City                           State    ZIP Code


            Person's relationship to you


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Debtor 1          ANNA                           A.                    CANADY                                  Case number it known)
                  First Name       Middle Name          Last Name




 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

      g No
      0 Yes. Fill in the details for each gift or contribution.
            Gifts or contributions to charities                                    contribOted                                          Date yOU2i1„:
            that total more than $§PREM7                                                                                               !goOttloutp4111



           Charity's Name




           Number      Street



           City          State       ZIP Cade




all                 List Certain Losses

  15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

           No
           Yes. Fill in the details.

            1.?,Opprjkqlqoitproperty you                        Ooxk :jbia7!tMtrrg!Fg.oyeragcfor.,ith!io:
            how the loss occurred                                   ,       :                i l        ...,,
                                                                ogywo*ampgfittotjppgraripoihgCrOOMIApp-pfAngillwArgrtcp
                                                                claims on lIne 33 or Schedule A/B: Property.




                  List Certain Payments or Transfers

  16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

        No
      g Yes. Fill in the details.
                                                                                                                                        000100000
            moneysharp.org                                                                                                              ransfer was
             Person Who Was Paid
                                                                                                                                        made
                                                               Counseling
             Number       Street                                                                                                        08/25/2022




             City                        State   ZIP Code



             Email or website address


             Person Who Made the Payment, if Not You



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Debtor 1      ANNA                                 A.                           CANADY                        Case number (if known)
                   First Name       Middle Name              Last Name




                                                                    liD401000000 yalUaIbtabyot§owteabSkiled                            llatepayitraritiiirAnouflt of
                                                                                                                                       Atafiefeeikee!Made .,payment

           Person Who Was Paid



           Number        Street




           City                          State    ZIP Code




           Email or website address



           Person Who Made the Payment, if Not You


I 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

     if No
     U Yes. Fill in the details.

                                                                          aacrtpffpplandNajtraipffapybrppaWtranefe                        aterpamenxxit.           payment
                                                                                                                                       .,f0b4feitMOWNI:1
                                                                                                                                        made
            Person Who Was Paid



            Number         Street




            City                          State   ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
      El No
      0    Yes. Fill in the details.
                                                                         000iptiotyanili'yolOalbf propertyl   igkOontklanyipcpperwocpgyments received        Date transfer
                                                                         transferred                           or debts paid in exchange                     was made

            Person Who Received Transfer



            Number        Street




            City                          State   ZIP Code


            Person's relationship to you


            Person Who Received Transfer



            Number         Street



            City                          State   ZIP Code

            Person's relationship to you

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Debtor 1      ANNA                              A.                         CANADY                            Case number (if known)
                First Name       Middle Name            Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     g No
     U Yes. Fill in the details.

                                                               P#SdriPittiftliiktIOtee,10fIthiit property transferred                                       Date transfer
                                                                                                                                                            was made •


           Name of trust




plir          List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units
  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     Ft No
     El Yes. Fill in the details.
                                                                                                        Typkglotoppuntor               Date account was   Last balance
                                                                                                        ittgrfteangli"                 40SettAtOW'MOVAI   01101iitOtAtaii*C1
                                                                                                                                       or transferred

            Name of Financial Institution
                                                                                                        LI Checking
                                                                                                        U Savings
             Number     Street
                                                                                                        ▪   Money market
                                                                                                        U Brokerage
             City                      State    ZIP Code
                                                                                                          _ Other
                                                                                                        _LI


                                                                    )00CX—                              ▪   Checking
             Name of Financial Institution
                                                                                                        U Savings

             Number     Street                                                                          LI Money market
                                                                                                        U Brokerage
                                                                                                        U Other
             City                       State   ZIP Code


   21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
       securities, cash, or other valuables?
      le No
      U Yes. Fill in the details.
                                                                    Who else had access to                              Describe the                             Do you
                                                                                                                                                                 haSrOltr

                                                                                                                                                                 U No

             Name of Financial Institution
                                                                                                                                                                I U Yes
                                                                    Name


             Number     Street                                      Number   Street



                                                                    City       State    ZIP Code

             City                       State   ZIP Code



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Debtor 1        ANNA                             A.                         CANADY                                     Case number (If known)
                  First Name      Middle Name              Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
    U Yes. Fill in the details.
                                                 11,Wh0irein     trdaz0. :11 11Q1           Describe the contents                                              Do you still
                                                                             ,
                                                                                                                                                               have it?

                                                                                                                                                            I U No
           Name of Storage Facility                                Name                                                                                     ! U Yes

           Number        Street                                    Number    Street


                                                                   City State ZIP Code

           City                        State    ZIP Code




jom                 identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.
     Elf   No
     U Yes. Fill in the details.
                                                                  VII,herals.thtcpropetly?                                    Describe the property       Value


            Owner's Name

                                                                 Number     Street
            Number       Street



                                                                 City                            State      ZIP Code
            City                        State   ZIP Code


  Part 10:           Give Details About Environmental information

  For the purpose of Part 10, the following definitions apply:
  a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.

      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.

  a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      El No
      U Yes. Fill in the details.
                                                                 ,•!,, O.OvernmnritaUunit,                        nviro Mental]lawitYou know              Date of 004-W



           Name of site                                           Governmental unit


           Number       Street                                    Number     Street


                                                                  City                   State   ZIP Code



           City                        State    ZIP Code




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Debtor 1      ANNA                                A.                         CANADY                                  Case number (if known)
                   First Name      Middle Name          Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     Ed No
     O Yes. Fill in the details.
                                                                                                                                               „.,„::::::„„,„.„
                                                               Government                                        .nvirontheritailteutil,it   trintowit                        Date of notice



            Name of site                                      Governmental unit


            Number        Street                              Number       Street




                                                              City                    State    ZIP Code


            City                        State    ZIP Code
                                                                                                                                                                  ,

 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     to No
     O Yes. Fill in the details.
                                                                                                                                                                               Status of
                                                                      .urtOitegeney                                   Nature &the ca
                                                                                                                                                                               case

           Case title
                                                                Court Name
                                                                                                                                                                               0 Pending
                                                                                                                                                                               I:I On appeal

                                                                    Number   Street                                                                                            El Concluded


           Case number                                              City                      State   ZIP Code



 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           1:1 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           Li A member of a limited liability company (LLC) or limited liability partnership (LLP)
           U A partner in a partnership
           Li An officer, director, or managing executive of a corporation
           O An owner of at least 5% of the voting or equity securities of a corporation

     51 No. None of the above applies. Go to Part 12.
     LI Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                 groployomonmoopot!Immo(
                                                                                                                                        Do not include Social Security number or ITIN
            Business Name


                                                                                                                                        EIN:
            Number        Street
                                                                     „                       .
                                                                    Name of accountant or bookkeeper                                    Dates business existed


                                                                                                                                        From                          To
            City                         State
                                            .    ZIP
                                                   . Code
                                                                                                                                        Employer Identification number
                                                                                                                                        Do not include Social Security number or
            Business Name


                                                                                                                                        EIN:
            Number        Street
                                                                                                                                        Dales:6!tslirs.axiate.d


                                                                                                                                        From                          To
             City                        State   ZIP Code


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Debtor 1        ANNA                               A.                        CANADY                            Case number (if known)
                     First Name      Middle Name          Last Name




                                                                                                                               Employer Identification numbe.r.
                                                                       000.filielhelhatUttOith
                                                                                                                                OrptInckfcle.SociatiSecUrityliOfl1bero9TIN*:i
              Business Name



              Number        Street
                                                                  Name of accountant or bookkeeper                             gigef11010050.110401001



                                                                                                                               From               To
              City                        State    ZIP Code




     28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
I        institutions, creditors, or other parties.

        U No
        Li Yes. Fill in the details below.




              Name                                                    MM / DD / YYYY



              Number        Street




              City                        State    ZIP Code




                      Sign Below


         I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
         answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
         in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
         18 U.S.C. §§ 152, 1341, 1519, and 3571.




              Signature of Debtor 1                                                    Signature of Debtor 2


              Date                                                                     Date
          Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

          kf No
          U    Yes


          Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
          lkf No
          U Yes. Name of person                                                                                       . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                        Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:


Debtor 1          ANNA                              A.                       CANADY
                      First Name                  Middle Name                  Last Name

Debtor 2
(Spouse, if filing) First Name                    Middle Name                  Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
                                                                                                                                                 U Check if this is an
                                                                                                                                                   amended filing

Official Form 106A/B

Schedule A/B: Property                                                                                                                                           12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    El No. Go to Part 2.
    U     Yes. Where is the property?
                                                                         What is the property? Check all that apply.         Do not
                                                                             Single-family home                            plokorriobtAFIgiv4optoa:ojamov•5.0h:oaki ,
                                                                                                                            rtOdjtdekWIWH4'*Cl6iff#1'Se!aAidlbkPtb))Oeti* ,:.
                                                                         U   Duplex or multi-unit building
               Street address, if available, or other description
                                                                         O   Condominium or cooperative                     Current value of the     Current value of the
                                                                         U Manufactured or mobile home                      entire property?         portion you own?
                                                                         O Land
                                                                         U Investment property
                                                                         U Timeshare                                        Describe the nature of your ownership
               City                            State      ZIP Code                                                          interest (such as fee simple, tenancy by
                                                                         D    Other                                         the entireties, or a life estate), if known.
                                                                         Who has an interest in the property? Check one.
                                                                         D Debtor 1 only
               County                                                    U Debtor 2 only
                                                                         CI Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                                                                                (see instructions)
                                                                         U At least one of the debtors and another
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:
     If you own or have more than one, list here:
                                                                     What is the property? Check all that apply.                   deditet4edireitblairrialor'ogowiotiot*Ror
                                                                     U Single-family home                                  11111100:130jOin,gorls6gootki:0010kOw$04000
                                                                                                                           liceolitotilw*tH4j.Welaptwi$0aitoabyptdootty:
        1.2.                                                         D       Duplex or multi-unit building
               Street address, if available, or other description
                                                                     •       Condominium or cooperative                     Current value of the      Current value of the
                                                                     D       Manufactured or mobile home                    entire property?          portion you own?
                                                                     U Land
                                                                     D       Investment property
                                                                                                                            Describe the nature of your ownership
                                                                     O Timeshare
               City                            State      ZIP Code                                                          interest (such as fee simple, tenancy by
                                                                     D       Other                                          the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                     0 Debtor 1 only
               County                                                U Debtor 2 only
                                                                     U Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                     U At least one of the debtors and another                  (see instructions)

                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:


  Official Form 106A/13                                                  Schedule A/B: Property                                                               page 1
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              ANNA                              A.
                                                                              Page 22 of 59
                                                                         CANADY
Debtor 1                                                                                                   Case number or known)
                  First Name     Middle Name            Last Name




                                                                    What is the property? Check all that apply.
                                                                    1:1 Single-family home                                   ,36komoutitof'bhVigr:401.4101.rwpb:Odhddiile.:1D. ,'
    1.3.                                                                                                                       Creditore Who Have Claims Seduted by Properly
           Street address, if available, or other description       O Duplex or multi-unit building
                                                                                                                              Current value of the         Current 'Vai.u-e.....af-4la
                                                                    O Condominium or cooperative
                                                                                                                              entire property?             portion you own?
                                                                    O Manufactured or mobile home
                                                                         Land
                                                                         Investment property
                                                                                                                              Describe the nature of your ownership
           City                            State      ZIP Code           Timeshare
                                                                                                                              interest (such as fee simple, tenancy by
                                                                    CI   Other                                                the entireties, or a life estate), if known.

                                                                    Who has an interest in the property? Check one.
                                                                    0    Debtor 1 only
           County
                                                                    0    Debtor 2 only
                                                                    Li Debtor 1 and Debtor 2 only                             CI Check if this is community property
                                                                                                                                     (see instructions)
                                                                    0    At least one of the debtors and another

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


2 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                              0.00
   you have attached for Part 1. Write that number here.




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   LINo
   Er   Yes

                                         SORENTO                     Who has an interest in the property? Check one.           DO:nadeductecuredclaime.„  or exempitions'. Put
    3.1.    Make:
                                         KIA                         0   Debtor 1 only
                                                                                                                               the amount of any secured               . . a
                                                                                                                                                           - on, Schedule
            Model:                                                                                                             Creditors'Who Have Claims SOCuredbyProperty.
                                         2017                        U   Debtor 2 only
            Year:                                                                                                              Current value of the         Current value of the
                                                                     U Debtor 1 and Debtor 2 only
                                                                                                                               entire property?             portion you own?
            Approximate mileage:                                     0   At least one of the debtors and another
            Other information:                                                                                                             15,000.00         $                  0.00
                                                                          Check if this is community property (see
                                                                          instructions)



    If you own or have more than one, describe here:

                                                                     Who has an interest in the property? Check one.           .1)ktiti.1.1#00pa004.040010.010(0*Oth01.0WROC
    3.2.    Make:
                                                                                                                               910:10r00.0t***000#0,4:moitftiton Schedule
                                                                     U Debtor 1 only                                               Crodftrs 14'lrn Have Claims Secured by Prapelty
            Model:
                                                                     0    Debtor 2 only
            Year:                                                                                                                  Current value of the      Current value of the
                                                                     U  Debtor 1 and Debtor 2 only
                                                                                                                                   entire property?          portion you own?
            Approximate mileage:                                     CI At least one of the debtors and another
            Other information:
                                                                      0 Check if this is community property (see
                                                                          instructions)




                                                                        Schedule A/B: Property                                                                        page 2
  Official Form 106A/B
              Case 23-54300-sms                    Doc 1          Filed 05/08/23 Entered 05/08/23 08:58:59                                         Desc P
Debtor 1      ANNA                            A.                       Page 23 of 59
                                                                  CANADY                            Case number (ii known)
               First Name       Middle Name        Last Name




           Make:                                               Who has an interest in the property? Check one.          „ot(0:0000.0.4t*i4t.ii'AdLaWfb,or0.1)(ernoticiri$:.;Pot:,.
   3.3.
                                                                                                                      lillilt,10!OtitiOn'Of*q$0egtecl!gloiftow$Ohg0.0WD:.;
           Model:                                              D Debtor 1 only                                           Creditors l,ltho Hetzei!Cleillig-SediMet by Property
                                                               D Debtor 2 only
           Year:                                                                                                        Current value of the             Current value of the
                                                               LI Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                         entire property?                 portion you own?
                                                                  At least one of the debtors and another
           Other information:
                                                               0 Check if this is community property (see
                                                                  instructions)


   3.4.    Make:                                               Who has an interest in the property? Check one.                                                  exemptions. p::.
                                                                                                                        the amount of any secured claims on Schedule D
           Model:                                                 Debtor 1 only                                         Ctethtors Who Have Claims Secured by Property                    •
                                                               0 Debtor 2 only
           Year:                                                                                                        Current value of the             Current value of the
                                                               0 Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                         entire property?                 portion you own?
                                                                  At least one of the debtors and another
           Other information:
                                                               0 Check if this is community property (see
                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   El No
   0 Yes


           Make:                                               Who has an interest in the property? Check one.         .,:Do,notiiediiCt'secured.clalms..or,exemptiont'Put.,
   4.1.
                                                                                                                          the amount of arlY.,Oppurar.).erl.ain1SE,i)n$qffp.t(ute„,1?:
           Model:                                              0 Debtor 1 only                                          croemottgificilki.o*Oloittio$ettir64byPtopertA
                                                               D Debtor 2 only
           Year:
                                                               D Debtor 1 and Debtor 2 only                             Current value of the              Current value of the
           Other information:                                     At least one of the debtors and another               entire property?                  portion you own?


                                                               0 Check if this is community property (see
                                                                  instructions)



   If you own or have more than one, list here:
                                                               Who has an interest in the property? Check one.                                 „
    4.2.   Make:                                                                                                        1:)01tioti4adobtsacurfidi'blatriWtir,0,61101101StlF4(,
                                                                                                                       Attiggt11040$000000§0M4tOltrOkq#000jA,1
           Model:                                              D Debtor 1 only                                           Creditors Who Have Cleftns Secured by Property
                                                               0 Debtor 2 only
           Year:                                                                                                         Current value of the             Current value of the
                                                               0 Debtor 1 and Debtor 2 only                              entire property?                 portion you own?
           Other information:                                  0 At least one of the debtors and another

                                                               0 Check if this is community property (see
                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   you have attached for Part 2. Write that number here                                                                                          4




 Official Form 106A/I3                                          Schedule A113: Property                                                                              page 3
              Case 23-54300-sms                  Doc 1        Filed 05/08/23 Entered 05/08/23 08:58:59                      Desc P
 Debtor 1     ANNA                          A.                     Page 24 of 59
                                                              CANADY                             Case number (if known)
               First Name     Middle Name        Last Name




Mall        Describe Your Personal and Household Hems

Do you own or have any legal or equitable interest in any Of the following items?,
                                                                                                                           o           , lm
                                                                                                                              rrieonntvo  "e of the
                                                                                                                           pourt      y u OW111?
                                                                                                                           lo not deduct secured claims
                                                                                                                           or emPtioas.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   1:1 No
   id Yes. Describe           1 living room, 1 dining room, 5 beds, dishes, tables, chairs                                                 2,000.00

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   U No
   • Yes. Describe            1 cell, 3 tv's, 1 laptop

8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    • No
    Li Yes. Describe

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
              and kayaks; carpentry tools; musical instruments
    10 No
    1:1 Yes. Describe
                                                                                                                           is
10.Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    • No
    U Yes. Describe

ii. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    LI No
    10 Yes. Describe          clothes                                                                                                         300.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
    ia No
    U Yes. Describe

 13. Non-farm animals
    Examples: Dogs, cats, birds, horses

    • No
    U Yes. Describe


 14 Any other personal and household items you did not already list, including any health aids you did not list

    •    No
    Li   Yes. Give specific
         information.

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                             3,800.00
     for Part 3. Write that number here .



  Official Form 106A/B                                       Schedule A/B: Property                                                      page 4
                     Case 23-54300-sms                     Doc 1         Filed 05/08/23 Entered 05/08/23 08:58:59                     Desc P
                     ANNA                           A.                        Page 25 of 59
                                                                         CANADY
     Debtor 1                                                                                    Case number yr known)
                       First Name   Middle Name            Last Name




I=                 Describe Your Financial Assets

                                                                                                                                                „
 Do you own or have.any legal or equitable interest in any of the following                                                          Currentvalueiibfithe
                                                                                                                                                       ••
                                                                                                                                     peiNiatfyOUOWnl'• •
                                                                                                                                     po.:hotdeductsdcureciclaime•,.
                                                                                                                                     or exemptions

 16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ▪     No
       ▪     Yes                                                                                                 Cash:



 17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
               and other similar institutions. If you have multiple accounts with the same institution, list each.

        LI No
       10 Yes                                                           Institution name:


                                     17.1. Checking account:            Checking                                                                       300.00

                                     17.2. Checking account:

                                     17.3. Savings account:

                                     17.4. Savings account:

                                     17.5. Certificates of deposit:

                                     17.6.   Other financial account:

                                     17.7. Other financial account:

                                     17.8. Other financial account:

                                     17.9. Other financial account:




 18.Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

        El No
        U     Yes ...........        Institution or issuer name:




     19.Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture

           VI No                     Name of entity:                                                             % of ownership:
                                                                                                                 0%
           IJ Yes. Give specific
              information about
              them
                                                                                                                  0%
                                                                                                                  0%




      Official Form 106A/B                                              Schedule A/B: Property                                                      page 5
            Case 23-54300-sms                      Doc 1          Filed 05/08/23 Entered 05/08/23 08:58:59                       Desc P
            ANNA                             A.                        Page 26 of 59
                                                                  CANADY
Debtor 1                                                                                      Case number (if known)
              First Name    Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   El No
   U Yes. Give specific     Issuer name:
     information about
     them




21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

      No
   U Yes. List each
     account separately.     Type of account:          Institution name:

                             401(k) or similar plan:

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account:



22.Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   ia No

   U Yes                                           Institution name or individual:

                             Electric:

                             Gas:

                             Heating oil:

                             Security deposit on rental unit:

                             Prepaid rent:

                             Telephone:

                             Water:

                             Rented furniture:

                             Other:



23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   El No

   U Yes                      Issuer name and description:




 Official Form 106A/3                                           Schedule A/B: Property                                                    page 6
                                  Case 23-54300-sms                       Doc 1          Filed 05/08/23 Entered 05/08/23 08:58:59                                Desc P
                                  ANNA                               A.
                                                                                              Page 27 of 59
                                                                                         CANADY
       Debtor 1                                                                                                        Case number (irimown)
                                      First Name   Middle Name            Last Name


,,,,              ,,,,   , ....   .                              •              --• •          •-•-•


  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
         0 No
         U Yes
                                                            Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
      exercisable for your benefit

         0               No
          •              Yes. Give specific
                         information about them....


  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          O No
          U Yes. Give specific
            information about them....


   27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          VI             No
          U Yes. Give specific
            information about them....


   Money or property owed to you?                                                                                                                                Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims. or exemptions. .. .

   28. Tax refunds owed to you
          Ed No
          U Yes. Give specific information                                                                                              Federal:
                 about them, including whether
                 you already filed the returns                                                                                          State:
                 and the tax years.
                                                                                                                                        Local:


   29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

          O No
          U Yes. Give specific information
                                                                                                                                       Alimony:
                                                                                                                                       Maintenance:
                                                                                                                                       Support:
                                                                                                                                       Divorce settlement:
                                                                                                                                       Property settlement:

       30. Other amounts someone owes you
           Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                     Social Security benefits; unpaid loans you made to someone else
              0          No
              •          Yes. Give specific information




        Official Form 106A/B                                                            Schedule A/B: Property                                                               page 7
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Debtor 1       ANNA                          A.                         Page 28 of 59 Case number (if known)
                                                                   CANADY
                 First Name    Middle Name          Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

   10 No
   0     Yes. Name the insurance company            Company name:                                         Beneficiary:                              Surrender or refund value:
              of each policy and list its value....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
   •      No
   •      Yes. Give specific information



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

   ki No
   IJ Yes. Describe each claim.


34.Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   ki No
    U Yes. Describe each claim.




35. Any financial assets you did not already list

    kl No
    U Yes. Give specific information



36.Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                         4                           300.00
   for Part 4. Write that number here




Part 5:        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
       kl No. Go to Part 6.
       U Yes. Go to line 38.
                                                                                                                                                   Current value the
                                                                                                                                                   portiphyotc.07,',..
                                                                                                                                                   tw.hotdeduct secured claims
                                                                                                                                                   0,(eXertiptiOne4

38.Accounts receivable or commissions you already earned
       U No
       U Yes. Describe


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       U No
       U Yes. Describe




  Official Form 106A/B                                           Schedule A/B: Property                                                                          page 8
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                   ANNA                          A.                    Page 29 of 59 Case number (if- known)
                                                                  CANADY
Debtor 1
                    First Name     Middle Name        Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   •        Nlo
   O Yes. Describe



41. Inventory
     • No
   O Yes. Describe



42. Interests in partnerships or joint ventures
   O No
   O Yes. Describe                 Name of entity:                                                          % of ownership:




43. Customer lists, mailing lists, or other compilations
       LI No
       CI Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   CI   No
                        Yes. Describe.



44.Any business-related property you did not already list
   LI No
       O Yes. Give specific
         information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here




 Part 6:           Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                   If you own or have an interest in farmland, list it in Part 1.


 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       I No. Go to Part 7.
       O Yes. Go to line 47.
                                                                                                                              Current value the
                                                                                                                              portion YOU Own?
                                                                                                                              1w600000:0000.4!oigoo:d
                                                                                                                                exemptions.
 47. Farm animals
     Examples: Livestock, poultry, farm-raised fish

        O No
           O Yes




  Official Form 106A/B                                            Schedule A/13: Property                                                 page 9
              Case 23-54300-sms                  Doc 1        Filed 05/08/23 Entered 05/08/23 08:58:59                          Desc P
              ANNA                          A.                     Page 30 of 59
                                                              CANADY
Debtor 1                                                                                 Case number (((known)
                First Name    Middle Name        Last Name




48. Crops—either growing or harvested

   •    No
   U Yes. Give specific
     information

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   U No
   O Yes



50. Farm and fishing supplies, chemicals, and feed

   Li No
   U Yes



51. Any farm- and commercial fishing-related property you did not already list
   LI No
   •     Yes. Give specific
         information


52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here                                                                                  4


Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

       O No
   U Yes. Give specific
     information




54.Add the dollir value of all of your entries from Part 7. Write that number here                                      4


Part 8:       List the Totals of Each Part of this Form


55.Part 1: Total real estate, line 2
                                                                                                                                            0.00

56.Part 2: Total vehicles, line 5
                                                                                       0.00

57.Part 3: Total personal and household items, line 15
                                                                                 3,800.00

58.Part 4: Total financial assets, line 36
                                                                                     300.00

59.Part 5: Total business-related property, line 45
                                                                                       0.00

60.Part 6: Total farm- and fishing-related property, line 52
                                                                                       0.00

61.Part 7: Total other property not listed, line 54                    +s              0.00

62.Total personal property. Add lines 56 through 61.
                                                                                 4,100.00     Copy personal property total   4 :+ $      4,100.00



63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                         4,100.00



 Official Form 106A/B                                        Schedule NB: Property                                                       page 10
                   Case 23-54300-sms                    Doc 1      Filed 05/08/23 Entered 05/08/23 08:58:59                         Desc P
                                                                        Page 31 of 59
 Fill in this information to identify your case:

 Debtor 1           ANNA                           A.                 CANADY
                     First Name                 Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name                 Middle Name             Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                         U Check if this is an
  (I( knoWn)
                                                                                                                                       amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                      04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions--such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


  Part 1:           Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      Ei You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


        Brief description of the property and                 cititenth4:444Ihe            ofthe   wriOloyo                iSpecific jawkthat afinw000p#:
        Schedule A/13 that lists this property                portiort,iyouilemio
                                                              Copy the                               fOr.10000110$00090,
                                                              Schedule A/B

       Brief                                                                                                               44-13-100(a)(3)
                                  2017 Kia Sorento            $15,000.00               $ 15,000.00
       description:
                                                                                    O 100% of fair market value, up to
       Line from
                                  3.1                                                 any applicable statutory limit
       Schedule A/B:

       Brief                                                                                                               44-13-100(a)(4)
                                  Household Goods             $2,000.00                $ 2,000.00
       description:
                                                                                    U 100% of fair market value, up to
       Line from
                                                                                      any applicable statutory limit
       Schedule A/B:

       Brief                                                                                                               44-13-100(a)(4)
                                  Electronics                 $1,500.00                $ 1,500.00
       description:
                                                                                    U 100% of fair market value, up to
       Line from
       Schedule A/B .                                                                 any applicable statutory limit


  3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
               No
       0       Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
               U     No
               O     Yes



 Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                     page 1 of
            Case 23-54300-sms                      Doc 1              Filed 05/08/23 Entered 05/08/23 08:58:59                                         Desc P
                                                                           Page 32 of 59
Debtor 1      ANNA                            A.                          CANADY                                   Case number (If known)
              First Name        Middle Name        Last Name




 Part 2:     Additional Page

      Brief description olthe property and line            Current:VAlktfCPti                      Attibutittiftheicx ciptinnyouelialm       Specific law that allow exemption
      on Scfledule                                         ...„....... . „„...
                                                           .....„„...    „„„..... „ .
                                                          1000V1t1)09000,40)01                     0Alkitiii46444kfoili4W!000po
                                                           SchedUle A/                  El:   :1

     Brief                                                                                                                                  44-13-100(a)(4)
     description:
                           Clothes                                               300.00                 $       300.00
     Line from             11                                                                      LI 100% of fair market value, up to
     Schedule A/B:                                                                                      any applicable statutory limit

     Brief                                                                                                                                  44-13-100(a)(6)
     description:          Checking                                              300.00                 $       300.00
                                                                                                   O 100% of fair market value, up to
     Line from
     Schedule A/B.
                           17                                                                        any applicable statutory limit


     Brief
     description:                                                                                  Us
     Line from
                                                                                                   LI 100% of fair market value, up to
     Schedule A/B: -                                                                                    any applicable statutory limit

     Brief
     description:                                                                                   Us
                                                                                                    O 100% of fair market value, up to
     Line from
      Schedule NB:                                                                                    any applicable statutory limit

      Brief
      description:                                                                                      $

      Line from
                                                                                                    O 100% of fair market value, up to
      Schedule A/B:                                                                                   any applicable statutory limit


      Brief
      description:                                                                                    $

      Line from                                                                                     O 100% of fair market value, up to
      Schedule A/B:                                                                                   any applicable statutory limit

      Brief
      description:                                                                                      $

      Line from
                                                                                                    LI 100% of fair market value, up to
      Schedule NB:                                                                                      any applicable statutory limit

      Brief
      description:                                                                                    $
      Line from
                                                                                                    O 100% of fair market value, up to
      Schedule A/B:                                                                                   any applicable statutory limit


      Brief
      description:                                                                                      $
                                                                                                    O 100% of fair market value, up to
      Line from
      Schedule A/B:                                                                                   any applicable statutory limit

      Brief
      description:                                                                                      $

      Line from
                                                                                                    •   100% of fair market value, up to
      Schedule NB:                                                                                      any applicable statutory limit

      Brief
      description:                                                                                      $

      Line from
                                                                                                    D 100% of fair market value, up to
      Schedule NB:                                                                                      any applicable statutory limit


      Brief
      description:                                                                                      $

      Line from
                                                                                                    LI 100% of fair market value, up to
                                                                                                        any applicable statutory limit
      Schedule A/B:


 Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                                        page   2   of_
                          Case 23-54300-sms                                           Doc 1              Filed 05/08/23 Entered 05/08/23 08:58:59                  Desc P
                                                                                                              Page 33 of 59
Fill in this information to identify your case:


Debtor 1                   ANNA                                                A.                   CANADY
                             First Name                                     middle Name                      Last Name

Debtor 2
(Spouse, if filing) First Name                                              Middle Name                      Last Name


United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (If known)                                                                                                                                                        0 Check if this is an
                                                                                                                                                                     amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       U No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Ef Yes. Fill in all of the information below.



Mial                  List All Secured Claims

                                                                                               H1,
2. List tiLtecurettelaimsifidteditdrfiOrporollt.oppptoilsp5ored!oolirlist!'timp„rpditoinor9F,!ly
   foili66eftclaim, If more than btlielleitddib*60kpooloor4mowyg*otoplqcp0491,x0,1p0,3,                                                              edta,`,
   'Agiiiitii6h:1!-6i05115161111i6f166.1,'6(iint teil#0,b0490,11000§p555rAtillto ptcreditor's name,                                                  collateral

2.1
                                                                                      Describe the property that secures the claim:                  21,000.00 $   15,000.00 $       0.00
       KIA FINANCE
       Creditor's Name
                                                                                     2017 KIA SORENTO
        10550 TALBERT AVE P020003
       Number                     Street

                                                                                      As of the date you file, the claim is: Check all that apply.
                                                                                      Li Contingent
        FOUNTAIN VALLE CA 92708                                                       •       Unliquidated
       City                                                     Slate   ZIP Code
                                                                                      •       Disputed

  Who owes the debt? Check one.                                                       Nature of lien. Check all that apply.
  U Debtor 1 only                                                                     Er An agreement you made (such as mortgage or secured
  U Debtor 2 only                                                                        car loan)
  U Debtor 1 and Debtor 2 only                                                        Li Statutory lien (such as tax lien, mechanic's lien)
  U At least one of the debtors and another                                               O   Judgment lien from a lawsuit
                                                                                          O Other (including a right to offset)
  1] Check if this claim relates to a
     community debt
  Date debt was incurred                                                              Last 4 digits of account number
              1....1&1021...1.1..1.11111111:10.1VAIIMME111.1.


                                                                                      Describe the property that secures the claim:
        Creditor's Name


        Number                    Street

                                                                                      As of the date you file, the claim is: Check all that apply.
                                                                                          O   Contingent
                                                                                          ▪   Unliquidated
        City                                                    State   ZIP Code
                                                                                          U Disputed

  Who owes the debt? Check one.                                                           Nature of lien. Check all that apply.
   U Debtor 1 only                                                                        Li An agreement you made (such as mortgage or secured
   U Debtor 2 only                                                                           car loan)
   U Debtor 1 and Debtor 2 only                                                           U Statutory lien (such as tax lien, mechanic's lien)
   U At least one of the debtors and another                                              O   Judgment lien from a lawsuit
                                                                                          U   Other (including a right to offset)
   •  Check if this claim relates to a
      community debt
   Date debt was incurred                                                                 Last 4 digits of account number
       •;:.Add,thEfittollat[valUevot:OUrientrielniOdlumndtinifiiiipagel,WribalthOnumberilhOsv                                                        21.000.00

 Official Form 106D                                                            Schedule D: Creditors Who Have Claims Secured by Property                                 page 1 of
                    Case 23-54300-sms                          Doc 1             Filed 05/08/23 Entered 05/08/23 08:58:59                       Desc P
                                                                                      Page 34 of 59
     Fill in this information to identify your case:


     Debtor 1          ANNA                               A.                         CANADY
                         First Name                     Middle Name                     Last Name

     Debtor 2
     (Spouse, if filing) First Name                     Middle Name                     Last Name


     United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                      El                                        CI Check if this is an
     Case number
      (If known)                                                                                                                                   amended filing


    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                          12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
    A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
    creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
    needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
    any additional pages, write your name and case number (if known).

    Part 1:          List All of Your PRIORITY Unsecured Claims

    1. Do any creditors have priority unsecured claims against you?
        la No. Go to Part 2.
        1:1 Yes.
    2. List all of VOUk*.iitititt4,eiSSOutettplaimsOtopotprIp.allmonalOvrr900!pri9ov ,nsRpOigo!!plp",!!iist[thcrep;i: r,.sep ree.i r for each claim. For
                                                                                               .. :                                    7:
       each claim IlatedFdentifV'WhatliY1Wbfdclaim It Is. If a claIm has both priority arid nonpriorlty amounts,,10,#T1,p1:0:01,1p#9:1Alcit.,,im,1,9*.poxprlOth]ggiclj
                                                                                                                                        ;
        rionOriOrityithOilintSVIMLiCft0.'itiOS031kIlliStillh*twi6kiNO101jap§fical!prciarl acqw. cliriglItOttOlergclitorlsl!paMqTyOghpya,),]o±or!t4qkw*poority
                                                                                         ,
       ,unsectiret[blaithlifUbikthCoritiridOtiOnilPag4'brEalt1. If mor#iharrOneicraditorholds a particular claim, list thottharcreditOl'iirr Part 3.
                                      ................... ..........gOITN§:Pthwg:Ropptpwforlth.!#!,f9rm!R#19:thm§trwOoll09cLAqi
               'saril',.e.).0,anatiottlt49a0KMIgArA                         ................„ ........... .
                                                                                                                                                xioritr       lonpriority
                                                                                                                                                01P,Vriti      mount

2.1
                                                                            Last 4 digits of account number
           Priority Creditor's Name

                                                                             When was the debt incurred?
           Number            Street

                                                                             As of the date you file, the claim is: Check all that apply.

           City                             State        ZIP Code
                                                                             D      Contingent
                                                                             •      Unliquidated
           Who incurred the debt? Check one.
                                                                             U Disputed
           O Debtor 1 only
           O Debtor 2 only                                                   Type of PRIORITY unsecured claim:
           O Debtor 1 and Debtor 2 only                                      O Domestic support obligations
           O At least one of the debtors and another
                                                                             U Taxes and certain other debts you owe the government
           U Check if this claim is for a community debt                     O Claims for death or personal injury while you were
           Is the claim subject to offset?                                     intoxicated
           •      No                                                         O Other. Specify
           U Yes
2.2 r
1
                                                                             Last 4 digits of account number                                $
           Priority Creditor's Name
                                                                             When was the debt incurred?
           Number            Street
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             ID     Contingent
           City                                 State     ZIP Code           •      Unliquidated

           Who incurred the debt? Check one.                                 O Disputed
           O Debtor 1 only
                                                                             Type of PRIORITY unsecured claim:
           U Debtor 2 only
                                                                                 O Domestic support obligations
           •       Debtor 1 and Debtor 2 only
                                                                             O Taxes and certain other debts you owe the government
            O At least one of the debtors and another
                                                                                 O Claims for death or personal injury while you were
           U Check if this claim is for a community debt                           intoxicated
           Is the claim subject to offset?                                   D       Other. Specify
           LI No
            O Yes                                                                                                                                                           ,J

     Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                 Dam 1 of
                 Case 23-54300-sms                           Doc 1          Filed 05/08/23 Entered 05/08/23 08:58:59                                   Desc P
Debtor 1         ANNA                                A.                          Page 35 of 59 Case number (Irmo.)
                                                                            CANADY
                   First Name          Middle Name          Last Name


 Part 2:         List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
    El No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    if Yes

    LiStal"f900C0000#00%49: .:09:0#0.104001104.641*014!iiij                                '4 t' ne'IStilditerwho holds each claim if a creditor liartitieelithaitMIS
    nonpriority unsecured claim list the creditor separately for each clati            For each                IdentifrwhattypeitottlaimitisDwpottaciairrisialreadsv,
   H illelLid0d#IIPPORMOP*0„0:V000119:174,1PF:....4..10**!PV04,1ki:61Mm
                                                                                       000100*(#0006111M.PaitfIMIOOe4b$94iiiiiakf,401040iti       .q00001t91!:46.000*(1
    claims fill out the Continuation Page of Part 2



1-7   CAPITAL
      Nonprionty Creditor's Name
                                                                                        Last 4 digits of account number_                                          230.00
                                                                                        When was the debt incurred?
      PO BOX 31293
      Number             Street

      SALT LAKE CITY                                      OT            84131
      City                                                State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                        O Contingent
      Who incurred the debt? Check one.                                                 • Unliquidated
      •      Debtor 1 only                                                              O Disputed
      LI Debtor 2 only
      •      Debtor 1 and Debtor 2 only                                                 Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                    1p Student loans
                                                                                        O Obligations arising out of a separation agreement or divorce
      O Check if this claim is for a community debt
                                                                                           that you did not report as priority claims
      Is the claim subject to offset?                                                   O Debts to pension or profit-sharing plans, and other similar debts
      ZI No                                                                             O Other. Specify
      U Yes

                                                                                        Last 4 digits of account number
                                                                                                                                                                  600700'
      Nonpnonty Creditor's Name                                                         When was the debt incurred?

      1959 PALOMAR OAKS WAY STE 340
      Number              Street
                                                          CA             92011          As of the date you file, the claim is: Check all that apply.
      CARLSBAD
      City                                                State         ZIP Code
                                                                                         O Contingent
      Who incurred the debt? Check one.                                                  LIUnllquidated
                                                                                         O Disputed
       O Debtor 1 only
       O Debtor 2 only
                                                                                         Type of NONPRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only
       LI At least one of the debtors and another                                        O Student loans
                                                                                         O Obligations arising out of a separation agreement or divorce
          U Check if this claim is for a community debt                                    that you did not report as priority claims
                                                                                         O Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?
                                                                                         O Other. Specify
          O No
          O Yes

7          US AUTO FINANCE
          Nonpnority Creditor's Name
                                                                                         Last 4 digits of account number                                         9,000.00
                                                                                         When was the debt incurred?
          2875 UNIVERSITY PKWY
          Number          Street

          LAWRENCEVILLE                                    GA             30043          As of the date you file, the claim is: Check all that apply.
          City                                             State         ZIP Code

                                                                                         LI   Contingent
          Who incurred the debt? Check one.
                                                                                         •    Unliquidated
          O Debtor 1 only                                                                U Disputed
          • Debtor 2 only
          LI Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim:
          LI At least one of the debtors and another                                     U Student loans
          U Check if this claim is for a community debt                                  O Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
          Is the claim subject to offset?                                                O Debts to pension or profit-sharing plans, and other similar debts
          U No                                                                           lj   Other. Specify
          O Yes



 Official Form 106E/F                                              Schedule EfF: Creditors Who Have Unsecured Claims                                            Dale   of
               Case 23-54300-sms                         Doc 1          Filed 05/08/23 Entered 05/08/23 08:58:59                                    Desc P
Debtor 1          ANNA                            A.                     CANADY
                                                                             Page 36 of 59  Case number (if known)
                  First Name        Middle Name          Last Name



 Part 2:       Your NONPRIORITY Unsecured Claims — Continuation Page



 After. listing anyootile                         inurribe thitnrbt                                                  fo!filik

4.4
                                                                                       Last 4 digits of account number                                            $ 1,400.00
      JEFFERSON CAPITAL
      Nonprionty Creditor's Name
                                                                                       When was the debt incurred?
      16 MCLELAND RD ST
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      ST.CLOUD                                         MN             56303
      City                                             State         ZIP Code          LI       Contingent
                                                                                       •        Unliquidated
      Who incurred the debt? Check one.                                                O Disputed
      O Debtor 1 only
      O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      CI Debtor 1 and Debtor 2 only                                                    U Student loans
      CI At least one of the debtors and another                                       CIObligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                       O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  LI Other. Specify
      U NO
      O Yes



4.5
      CREDIT BUREAU ASSOCIATES OF GEORGIA                                              Last 4 digits of account number                                                    50.001
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
      102 SAILORS DR
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      ELLIJAY                                           GA            30340
      City                                             State         ZIP Code          LI       Contingent
                                                                                       •        Unliquidated
      Who incurred the debt? Check one.                                                CI       Disputed
      O Debtor 1 only
      O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                     O Student loans
      Li At least one of the debtors and another
                                                                                       O     Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                           O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  CI       Other. Specify
      U No
      LI Yes
                                                                                                                      Meilaa049.11101.....


4.6                                                                                                                                                               $ 14 000.00i
                                                                                       Last 4 digits of account number
      HUNTER WARFIELD
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
      4620 WOODLAND CORPORATE BLVD
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      TAMPA                                             FL            33614
      City                                             State         ZIP Code              O Contingent
                                                                                           •    Unliquidated
      Who incurred the debt? Check one.                                                    LI   Disputed
       CI    Debtor 1 only
       O Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim:
      Li Debtor 1 and Debtor 2 only                                                        U Student loans
       O At least one of the debtors and another                                           LI Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                           LI Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                      LI   Other. Specify
       •     No
       O Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   Pale     of
                        Case 23-54300-sms                       Doc 1          Filed 05/08/23 Entered 05/08/23 08:58:59                                   Desc P
Debtor 1                ANNA                           A.                      CANADY
                                                                                    Page 37 of 59 Case number of known)
                         First Name      Middle Name           Last Name


 Part 2:             Your NONPRIORITY Unsecured Claims — Continuation Page




4.7
                                                                                            Last 4 digits of account number                                             $ 2,300.001
      I C SYSTEM
      Nonpdority Creditors Name
                                                                                            When was the debt incurred?
      PO BOX 64378
      Number                   Street
                                                                                            As of the date you file, the claim is: Check all that apply.
          ST. PAUL                                           MN             55164
      City                                                   State         ZIP Code         U       Contingent
                                                                                            Li Unliquidated
      Who incurred the debt? Check one.                                                     CI      Disputed
          Li Debtor 1 only
          CI       Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
          CI       Debtor 1 and Debtor 2 only
                                                                                             Li Student loans
          Li At least one of the debtors and another                                         U Obligations arising out of a separation agreement or divorce that
                                                                                                you did not report as priority claims
          U Check if this claim is for a community debt
                                                                                             Li Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                        Li Other. Specify
          •        No
          CI       Yes



4.8   r                                                                                      Last 4 digits of account number                                            $      100.001
          CREDIT COLLECTION SERVICE
          Nonpdoiity Creditor's Name
                                                                                             When was the debt incurred?
          PO BOX 607
          Number               Street
                                                                                             As of the date you file, the claim is: Check all that apply.
          NORWOOD                                             MA            02062
          City                                               State         ZIP Code          U Contingent
                                                                                             •      Unliquidated
          Who incurred the debt? Check one.                                                  U Disputed
          Li Debtor 1 only
          U Debtor 2 only                                                                    Type of NONPRIORITY unsecured claim:
          Li Debtor 1 and Debtor 2 only                                                      Li Student loans
          Li At least one of the debtors and another                                         Li Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
          CI       Check if this claim is for a community debt
                                                                                             U Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                    Li Other. Specify
          U No
          Li Yes


4.9
                                                                                             Last 4 digits of account number
          Nonpriority Creditor's Name
                                                                                             When was the debt incurred?

          Number                Street
                                                                                             As of the date you file, the claim is: Check all that apply.

          City                                               State         ZIP Code          1:1 Contingent
                                                                                             Li Unliquidated
              Who incurred the debt? Check one.                                              Li Disputed
              Li Debtor 1 only
              Li Debtor 2 only                                                               Type of NONPRIORITY unsecured                  claim:
              CI   Debtor 1 and Debtor 2 only                                                U Student loans
              El   At least one of the debtors and another                                       U Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
              Li Check if this claim is for a community debt
                                                                                                 Li Debts to pension or profit-sharing plans, and other similar debts
              Is the claim subject to offset?                                                    U Other. Specify
              U No
              Li Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                      Pape   of
               Case 23-54300-sms                        Doc 1            Filed 05/08/23 Entered 05/08/23 08:58:59                               Desc P
Debtor 1       ANNA                            A.                        CANADY
                                                                              Page 38 of 59 Case number (if known)
                First Name       Middle Name            Last Name


Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
   example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
   2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
   additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      HUNTER WARFIELD                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      4620 WOODLAND CORPORATE BLVD                                              Line   4.6    of (Check one):   0     Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                    El Part 2: Creditors with Nonpriority Unsecured Claims
      REF: GOLDEN GATE PROPERTY MNGT
                                                                                Last 4 digits of account number
      TAMPA                                     FL            33614
      City                                      State               ZIP Code


      I C SYSTEM                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      PO BOX 64378                                                              Line    4.7   of (Check one):    CI   Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                          Part 2: Creditors with Nonpriority Unsecured
      REF: SPRINT & COMCAST XFINITY                                             Claims

      ST. PAUL                                  MN             55164            Last 4 digits of account number —            —    —   —
      City                                      State               ZIP Code


      CREDIT COLLECTION SERVICE                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      PO BOX 607                                                                Line    4.8   of (Check one):    U Part 1: Creditors with Priority Unsecured Claims
      Number           Street                                                                                    lir Part 2: Creditors with Nonpriority Unsecured
       REF: PROFRESSIVE                                                         Claims

       NORWOOD                                   MA            02062            Last 4 digits of account number
                                                State               ZIP Code

                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                 Line         of (Check one):    0     Part 1: Creditors with Priority Unsecured Claims
      Number           Street                                                                                    0     Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number
      City                                      State               ZIP Code


                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                 Line         of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                                    CI    Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number

                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                 Line          of (Check one):   0     Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                                   0     Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number —            —   —    —


                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                 Line          of (Check one):    0    Part 1: Creditors with Priority Unsecured Claims
       Number           Street
                                                                                                                       Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims


                                                                     ZIP Code
                                                                                 Last 4 digits of account number
       City                                         State




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  oacie      of
             Case 23-54300-sms                      Doc 1         Filed 05/08/23 Entered 05/08/23 08:58:59                 Desc P
 Debtor 1    ANNA                             A.                   CANADY
                                                                       Page 39 of 59 Case number         (if/mown)
                 First Name     Middle Name         Last Name



 Part 4:    Add the Amounts for Each Type of Unsecured Claim



 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                          Total claim



, Total claims
                  6a. Domestic support obligations                                6a.                          0.00
  from Part I
                  6b. Taxes and certain other debts you owe the
                      government                                                  6b.                          0.00
                  6c. Claims for death or personal injury while you were
                      intoxicated                                                 6c.                          0.00
                   6d. Other. Add all other priority unsecured claims.
                       Write that amount here.                                    6d.   -F s                   0.00


                   6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                                0.00




                   6f. Student loans                                              6f.                           0.00
 Total claims
 from Part 2
                   6g. Obligations arising out of a separation agreement
                       or divorce that you did not report as priority
                       claims                                                     6g.      $                    0.00
                   6h. Debts to pension or profit-sharing plans, and other
                       similar debts                                              6h.                           0.00

                   61. Other. Add all other nonpriority unsecured claims.
                       Write that amount here.                                    61.          $        27,680.00


                   6j. Total. Add lines 6f through 61.                            6j.
                                                                                                        27,680.00




  Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                              cane   of
                Case 23-54300-sms                    Doc 1       Filed 05/08/23 Entered 05/08/23 08:58:59                               Desc P
                                                                      Page 40 of 59
 Fill in this information to identify your case:


 Debtor               AN NA                        A.                    CANADY
                      First Name             Middle Name                Last Name

 Debtor 2
 (Spouse If filing)   First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)                                                                                                                             0   Check if this is an
                                                                                                                                             amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        if   No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule NB: Properly (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.




2.1;
        Name


        Number            Street

        City                              State     ZIP Code

i2.21
        Name

        Number            Street


        City                              State     ZIP Code
 2.3

        Name

        Number            Street

        city                              State      ZIP Code



        Name

        Number            Street

                                          State      ZIP Code



        Name

        Number            Street

        City                              State      ZIP Code


 Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of
                  Case 23-54300-sms                           Doc 1             Filed 05/08/23 Entered 05/08/23 08:58:59                           Desc P
                                                                                     Page 41 of 59
 Fill in this information to identify your case:


 Debtor 1            ANNA                                A.                        CANADY
                      First Name                      Middle Name                  Lam Name

 Debtor 2
 (Spouse, if filing) First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia
                                                                                               El
 Case number
 (If known)
                                                                                                                                                        Check if this is an
                                                                                                                                                        amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                           12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1.   Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
            No
            Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       ig No. Go to line 3.
       U    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

            •       No
            •       Yes. In which community state or territory did you live?                                . Fill in the name and current address of that person.



                    Name of your spouse, former spouse, or legal equivalent



                    Number            Street



                    City                                            State                      ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to fill out Column 2.

                                                                                                                                                                 the debt




                                                                                                                     0 Schedule D, line
          Name
                                                                                                                     0 Schedule E/F, line
          Number             Street                                                                                  0 Schedule G, line

          9.!!)/„                                                       State                    ZIP Code

 3.2
                                                                                                                     0 Schedule D, line
          Name
                                                                                                                     0 Schedule E/F, line
           Number            Street                                                                                  U Schedule G, line

           City                                                         State                    ZIP Code

 3.3
                                                                                                                     LI Schedule D, line
           Name
                                                                                                                     CI Schedule E/F, line
           Number            Street                                                                                  0 Schedule G, line

           city                                                         State                    ZIP Code




Official Form 106H                                                               Schedule H: Your Codebtors                                                Pane 1 of
                Case 23-54300-sms                  Doc 1        Filed 05/08/23 Entered 05/08/23 08:58:59                                   Desc P
                                                                     Page 42 of 59

 Fill in this information to identify your case:


 Debtor 1          ANNA                       A.                  CANADY
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                              Check if this is:
 (If known)
                                                                                                          U An amended filing
                                                                                                          U A supplement showing postpetition chapter 13
                                                                                                                income as of the following date:
Official Form 1061                                                                                              MM / DD / YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
   information.                                                               Debtd                                       Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                  El Employed                                    0 Employed
    employers.                                                              0 Not employed                                 0 Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                       Workplace Coordinator
    Occupation may include student
    or homemaker, if it applies.
                                         Employer's name                  Instacart

                                         Employer's address
                                                                           Number Street                                 Number   Street




                                                                          Atlanta                 GA
                                                                           City              State   ZIP Code            City                State ZIP Code

                                         How long employed there?              3 years                                     3 years


  Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.
                                                                                                                 :...„..„:„,.
                                                                                                                  forDebtorZet,
                                                                                                                 110114ilinglspousegi
  2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.             2.      $   3,870.40

  3 Estimate and list monthly overtime pay.                                                  3. + $             0.00     + $

  4 Calculate gross income. Add line 2 + line 3.                                             4.      $   3,870.40



Official Form 1061                                                 Schedule I: Your Income                                                          page 1
           Case 23-54300-sms                    Doc 1       Filed 05/08/23 Entered 05/08/23 08:58:59                                    Desc P
                                                                 Page 43 of 59
Debtor 1    ANNA                           A.                CANADY                           Case number of known)
                First Name   Middle Name        Last Name



                                                                                             rotipootol               ]TarltbtOrTitir,
                                                                                                li                    illOn4111110iSpotts.e'

   Copy line 4 here                                                               4   4.     $    3,870.40                $

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                5a.    $      786.64                $
     5b. Mandatory contributions for retirement plans                                 5b.    $      116.12                $
     5c. Voluntary contributions for retirement plans                                 5c.    $        0.00                $
     5d. Required repayments of retirement fund loans                                 5d.    $        0.00                $
     5e. Insurance                                                                    5e.    $      228.00                $
     5f. Domestic support obligations                                                 5f.    $        0.00
     5g. Union dues                                                                   5g.             0.00                $
     5h. Other deductions. Specify:                                                   5h. +$            0.00          + $
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.      6.     $    1,130.76                $

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.              7.     $    2,739.64

 B. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
         Attach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total                              0.00              $
         monthly net income.                                                          8a.
     8b. Interest and dividends                                                       8b.    $          0.00              $
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support, maintenance, divorce                           0.00             $
         settlement, and property settlement.                                  8c.
     8d. Unemployment compensation                                                    8d.                0.00
     8e. Social Security                                                              8e.                0.00             $
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify:                                                                  8f.                   0.00             $
     8g. Pension or retirement income                                                 8g.                0.00
      8h. Other monthly income. Specify:                                              8h. +$             0.00           +$
  9. Add all other income. Add lines 8a + 8b + 8c + Bd + 8e + 8f +8g + 8h.             9.                0.00

 10. Calculate monthly income. Add line 7 + line 9.                                                2,739• 64                                         $      2,739.64
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.   $

 11. State all other regular contributions to the expenses that you list in Schedule J
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify:                                                                                                                              11. +                  0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                     $      2,739.64
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                        12.
                                                                                                                                                     Combined
                                                                                                                                                     monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      10 No.
      U Yes. Explain:


 Official Form 1061                                             Schedule I: Your Income                                                                  page 2
                Case 23-54300-sms                   Doc 1       Filed 05/08/23 Entered 05/08/23 08:58:59                                    Desc P
                                                                     Page 44 of 59

  Fill in this information to identify your case:

  Debtor 1         ANNA                        A.                 CANADY
                     First Name             Middle Name                  Last Name                      Check if this is:
  Debtor 2
  (Spouse, if filing) First Name            Middle Name                  Last Name
                                                                                                        0 An amended filing
                                                                                                        0   A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: Northern District of Georgia
                                                                                     El                     expenses as of the following date:
  Case number                                                                                               MM / DD / YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                             12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   El No. Go to line 2.
   Li Yes. Does Debtor 2 live in a separate household?

                LI No
                0 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                 O No                                      Dependent's relationship to              Dependent's     Does dependent live
   Do not list Debtor 1 and                d   Yes. Fill out this information for    Debtor 1 or Debtor 2                     age             with you?
   Debtor 2.                                   each dependent
                                                                                                                                              O No
   Do not state the dependents'                                                      SON                                      13
   names.                                                                                                                                     • Yes

                                                                                     SON                                      11              Li No
                                                                                                                                              El Yes

                                                                                     DAUGHTER                                 3               O No
                                                                                                                                              14Yes
                                                                                                                                              O No
                                                                                                                                              O Yes
                                                                                                                                              O No
                                                                                                                                              O Yes

3. Do your expenses include
                                           Eir No
   expenses of people other than
   yourself and your dependents?           O Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule Your Income (Official Form 1061.)
  4 The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                               1,149.00
    any rent for the ground or lot.                                                                                     4.

      If not included in line 4:
      4a. Real estate taxes                                                                                             4a.                          0.00
      4b. Property, homeowner's, or renter's insurance                                                                  4b.                          0.00
      4c. Home maintenance, repair, and upkeep expenses                                                                 4c.                          0.00
      4d. Homeowner's association or condominium dues                                                                   4d.                          0.00

Official Form 106J                                             Schedule J: Your Expenses                                                             page 1
               Case 23-54300-sms                 Doc 1        Filed 05/08/23 Entered 05/08/23 08:58:59                        Desc P
                                                                   Page 45 of 59

 Debtor 1        ANNA                       A.                CANADY                     Case number (if (mown)
                 First Name   Middle Name        Last Name




                                                                                                                                       0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                    5.

 6. Utilities:
     6a. Electricity, heat, natural gas                                                                           6a.             150.00
     6b. Water, sewer, garbage collection                                                                         6b.                  0.00
     6c. Telephone, cell phone, Internet, satellite, and cable services                                           6c.             200.00
     6d. Other. Specify:                                                                                          6d.               0.00
 7. Food and housekeeping supplies                                                                                7.              300.00
 8. Childcare and children's education costs                                                                      8.              200.00
 9. Clothing, laundry, and dry cleaning                                                                           9.                0.00
10. Personal care products and services                                                                           10.     $        50.00
11. Medical and dental expenses                                                                                   11.     $        50.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                  100.00
    Do not include car payments.                                                                                  12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.     $            0.00
14. Charitable contributions and religious donations                                                              14.     $            0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a. Life insurance                                                                                          15a.    $            0.00
     15b. Health insurance                                                                                        15b.    $            0.00
     15c. Vehicle insurance                                                                                       15c..   $       126.64
     15d.Other insurance. Specify:                                                                                15d     $         0.00

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
     Specify:                                                                                                     16.
                                                                                                                                       0.00

17. Installment or lease payments:
     17a. Car payments for Vehicle 1                                                                              17a.            414.00
     17b. Car payments for Vehicle 2                                                                              17b.                 0.00
     17c. Other. Specify:                                                                                         17c.                 0.00
     17d. Other. Specify:                                                                                         17d.                 0.00

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                              18.    $            0.00
16. Other payments you make to support others who do not live with you.
    Specify:                                                                                                       19.    $            0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

     20a. Mortgages on other property                                                                             20a.                 0.00
     20b. Real estate taxes                                                                                       20b.                 0.00
     20c. Property, homeowner's, or renter's insurance                                                            20c.                 0.00
     20d. Maintenance, repair, and upkeep expenses                                                                20d.                 0.00
     20e. Homeowner's association or condominium dues                                                             20e.                 0.00


Official Form 106J                                           Schedule J: Your Expenses                                                 page 2
              Case 23-54300-sms                Doc 1       Filed 05/08/23 Entered 05/08/23 08:58:59                            Desc P
                                                                Page 46 of 59

Debtorl       ANNA                        A.               CANADY                          Case number Of (mown)
              First Name    Middle Name        Last Name




21. Other. Specify:                                                                                                21.    +$            0.00


22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                               22a.               2,739.64

    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.                     0.00
    22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.        $      2,739.64


23. Calculate your monthly net income.
                                                                                                                                  2,739.64
   23a.   Copy line 12 (your combined monthly income) from Schedule I.                                             23a.

   23b.   Copy your monthly expenses from line 22c above.                                                          23b.    $      2,739.64

   23c. Subtract your monthly expenses from your monthly income.
                                                                                                                                        0.00
        The result is your monthly net income.                                                                     23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   Lig No.
       Yes.      Explain here:




Official Form 106J                                         Schedule J: Your Expenses                                                    page 3
                      Case 23-54300-sms                 Doc 1    Filed 05/08/23 Entered 05/08/23 08:58:59                      Desc P
                                                                      Page 47 of 59
Fill in this information to identify your case:

Debtor 1              ANNA                   A.                 CANADY
                      First Name          Middle Name                  Last Name

Debtor 2
(Spouse, if filing)   First Name          Middle Name                  Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number                                                                                                                       La Check if this is an
 (If known)                                                                                                                          amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                  12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  10 creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:           List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the                                                                atl.#01'SW:40                           Did you Claim the property
                                                                                                                               as exempt on Schedule C?

           Creditor's                                                              CI Surrender the property.                  CI No
           name:      KIA FINANCE
                                                                                       Retain the property and redeem it.      Ei Yes
          Description of 2017 KIA SORENT
          property
                                                                                   El Retain the property and enter into a
          securing debt:                                                               Reaffirmation Agreement.
                                                                                       Retain the property and [explain]:



           Creditor's                                                              0 Surrender the property.                   D No
           name:
                                                                                   CI Retain the property and redeem it.          Yes
           Description of
                                                                                       Retain the property and enter into a
           property
           securing debt:                                                              Reaffirmation Agreement.
                                                                                   0   Retain the property and [explain]:



           Creditor's                                                              Ll Surrender the property.                  D No
           name:
                                                                                       Retain the property and redeem it.      0 Yes
           Description of
           property
                                                                                   CI Retain the property and enter into a
           securing debt:                                                              Reaffirmation Agreement.
                                                                                   0   Retain the property and [explain]:



           Creditor's                                                              0 Surrender the property.                   El No
           name:
                                                                                   0 Retain the property and redeem it.         0 Yes
           Description of
           property
                                                                                   U Retain the property and enter into a
           securing debt:                                                              Reaffirmation Agreement.
                                                                                   0   Retain the property and [explain]:



   Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                              page 1
             Case 23-54300-sms                     Doc 1       Filed 05/08/23 Entered 05/08/23 08:58:59                             Desc P
                                                                    Page 48 of 59
Debtor 1        ANNA                          A.                CANADY                        Case number   (If known)
                First Name      Middle Name        Last Name




  Part 2:       List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume It. 11 U.S.C. § 365(p)(2).

       Describe your unexpired OdisbhalLproperty,..11eaSCV                                                                 ill the'.!date be ' atsUitiedi

      Lessor's name:                                                                                                     U No

                                                                                                                         U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                     U No
                                                                                                                         U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                     U No

      Description of leased                                                                                                Yes
      property:



      Lessor's name:                                                                                                     U No

                                                                                                                         U Yes
      Description of leased
      property:



      Lessor's name:                                                                                                     Li No

                                                                                                                         0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                     U No
                                                                                                                         U Yes
      Description of leased
      property:



      Lessor's name:                                                                                                     U No

                                                                                                                         U Yes
      Description of leased
      property:




  Part 3:           Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     persona property that is subject to an unexpired lease.




       Signature of Debtor 1                                      Signature of Debtor 2

      Date                                                        Date
             MM /    DD      YYYY                                        MM /   DD /   YYYY




Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                  page 2
               Case 23-54300-sms                   Doc 1       Filed 05/08/23 Entered 05/08/23 08:58:59                           Desc P
                                                                    Page 49 of 59

 Fill in this information to identify your case:


 Debtor 1          ANNA                       A.                        CANADY
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                        U Check if this is an
                     (If known)                                                                                                       amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                Your assets
                                                                                                                                iiVAideitirwhatyoutiwtr
1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                      0.00
   1a.Copy line 55, Total real estate, from Schedule A/B


    1b.Copy line 62, Total personal property, from Schedule NB                                                                                4,100.00

    1c.Copy line 63, Total of all property on Schedule A/B                                                                                    4,100.00


Part 2:        Summarize Your Liabilities


                                                                                                                                 Your liabilities
                                                                                                                                 'Ainotint you 'owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                     $       21,000.00
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                      0.00
   3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F                                         27,680.00
                                                                                                                                 + $


                                                                                                       Your total liabilities                48,680.00


 Part 3:        Summarize Your Income and Expenses


 4. Schedule!: Your Income (Official Form 1061)
                                                                                                                                               2,739.64
    Copy your combined monthly income from line 12 of Schedule

 5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                               2,739.64
    Copy your monthly expenses from line 22c of Schedule J




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                    page 1 of 2
                   Case 23-54300-sms                       Doc 1                  Filed 05/08/23 Entered 05/08/23 08:58:59                                                                                    Desc P
                                                                                       Page 50 of 59
  Debtor 1         ANNA                              A.                                     CANADY                                                   Case number (if known)
                    First Name         Middle Name          Last Name




   Part 4:         Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

      D No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
             Yes


   7. What kind of debt do you have?

         Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
         family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

      LI Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
             this form to the court with your other schedules.

                                                      Ritii*M1,*1       CIR./NO:NM,i,NTIRRIMS-7A-NNIRIVRr,in-*rtNSh0.7EVISIAATWNEIMVA,Mii.M.t(Errt,at%<..11,M1,P        itatOtiCt**71.t.V.,,          ,,,431.V.,,,,,,   771,41:73, 7",




   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11: OR, Form 122C-1 Line 14.                                                                                                                                                               3,870.40




 , 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:




        From Part 4 on Schedule EfF, copy the folio


      9a. Domestic support obligations (Copy line 6a.)                                                                                                                                         0.00

      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                                                                                0.00

      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                                                                                               0.00


      9d. Student loans. (Copy line 6f.)                                                                                                                                                       0.00

      9e. Obligations arising out of a separation agreement or divorce that you did not report as                                                                                              0.00
          priority claims. (Copy line 6g.)

      9f. Debts to pension cr profit-sharing plans, and other similar debts. (Copy line 6h.)                                                                       +$                          0.00

      9g. Total. Add lines 9a through 9f.                                                                                                                                                      0.00




Official Form 106Sum             Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    page 2 of 2
                   Case 23-54300-sms                      Doc 1   Filed 05/08/23 Entered 05/08/23 08:58:59                                            Desc P
                                                                       Page 51 of 59
Fill in this information to identify your case:


Debtor 1          ANNA                        A.                   CANADY
                   First Name               Middle Name                Last Name

Debtor 2
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
(II known)

                                                                                                                                                       CI Check if this is an
                                                                                                                                                           amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       lkf No
       IJ Yes. Name of person                                                                      Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         Signature of Debtor 1                                             Signature of Debtor 2


         Date                                                              Date
                 MM      ID      /   YYYY                                          MM/ DD /   YYYY




  Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
                 Case 23-54300-sms                    Doc 1     Filed 05/08/23 Entered 05/08/23 08:58:59                                          Desc P
                                                                     Page 52 of 59
 Fill in this information to identify your case:                                                              Check one box only as directed in this form and in
                                                                                                              Form 122A-1Supp:
 Debtor 1          ANNA                        A.                    CANADY
                    First Name                Middle Name               Last Name
                                                                                                              O    1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name               Middle Name               Lest Name                             O 2. The calculation to determine if a presumption of
                                                                                                                   abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia                                              Means Test Calculation (Official Form 122A-2).
 Case number                                                                                                  CI   3. The Means Test does not apply now because of
 (If known)                                                                                                           qualified military service but it could apply later.


                                                                                                              U Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                      12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:          Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
         ki Not married. Fill out Column A, lines 2-11.
         •      Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

         O Married and your spouse is NOT filing with you. You and your spouse are:

                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
       .rilt,,ht,Olg•ayeragwmpplpIrinc911.011# 0 0AtOOOkedfr97 aRi$000044*.syq4,4rongi yv.:*fgtt months before yciwtktr§b:,.
       ,illiTkryopy.pa#411:ykt4p!&4010pmkgi,q000.010PirlY0'0,0:001,00004.0(iimitoOpooki4vw4)0Dp.kly,10:                   #0:090:
       ..ki&4$M,1:f: tngriiiouni*dypo.*,60ligocs07700400Yingl#1.0.1101,01ipsniwo0:0116,k04§'IforooliT1014.01.0*040011*0400):,.. yB..
       ;Fiii!inlEWNOW:',P,MociERitdooititio0.61.01.4mgmo:**64'popogFor:eporyi*i(60.04N$4,1x0kk§ingtropK***,:001.,:00
         i-icoreiefittreth'e00000104i:Wdkiniertintpkt.00f1A4iiitiihii4itYNOifit,006irAbwilt#101*iii6ipaddi
                                                                                                                   Column A            Column B
                                                                                                                   Debtor I            Debtor 2 or
                                                                                                                                       non-fi ing spouse

    2. Your gross wages, salary, tips, bonuses, overtime, and commissions
         (before all payroll deductions).                                                                          $ 3.870.40
    3. Alimony and maintenance payments. Do not include payments from a spouse if                                  $          0.00
         Column B is filled in.
    4. All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.
                                                                                                                   $          0.00       $
    5. Net income from operating a business, profession,                .Debtor
       or farm
         Gross receipts (before all deductions)
         Ordinary and necessary operating expenses                      —$                 — $
                                                                                                       Copy
             Net monthly income from a business, profession, or farm       $_ 0.00          $          here-)      $          0.00       $

    6. Net income from rental and other real property                    Debtor ft          Debtor 2
             Gross receipts (before all deductions)
             Ordinary and necessary operating expenses                  —$                 — $
                                                                                                       Copy
             Net monthly income from rental or other real property         $        0.00     $         here'+      $          0.00       $
    7. Interest, dividends, and royalties                                                                                     0.00       $


 Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                            page 1
              Case 23-54300-sms                    Doc 1       Filed 05/08/23 Entered 05/08/23 08:58:59                                 Desc P
                                                                    Page 53 of 59

Debtor 1        ANNA                          A.                   CANADY                       Case number (if known)
                First Name    Middle Name          Last Name



                                                                                                                             ieolumn!'
                                                                                                    Debtor I                  Debtor or
                                                                                                                              flon.ffljg spouse
   8. Unemployment compensation                                                                                  0.00
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:             9
            For you
            For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                0.00
 I10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below.




           Total amounts from separate pages, if any.

   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                                          $ 3,870.40
                                                                                                                                                  Total current
                                                                                                                                                  monthly income


 WM              Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11.                                                         Copy line 11 here+       $ 3,870.40 1
                                                                                                                                                              I
                Multiply by 12 (the number of months in a year).                                                                                  x 12
       12b. The result is your annual income for this part of the form.                                                                 12b.      $ 46,444.80

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                         GEORGIA

       Fill in the number of people in your household.              4

       Fill in the median family income for your state and size of household.                                                           13.       $ 96,622.00
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do the lines compare?


       14a.El Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
              Go to Part 3. Do NOT fill out or file Official Form 122A-2



       14b.
         0 Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                  page 2
           Case 23-54300-sms                       Doc 1       Filed 05/08/23 Entered 05/08/23 08:58:59                           Desc P
                                                                    Page 54 of 59

Debtor 1     ANNA                             A.                 CANADY                        Case number ill known)
             First Name      Middle Name           Last Name



               Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.




                   Signature of Deb or 1                                                      Signature of Debtor 2

                  Date S                                                                      Date
                       MM DD         / YYYY                                                          MM/ DD      /YYYY

                  If you checked line 14a, do NOT fill out or file Form 122A-2.

                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                               page 3
                  Case 23-54300-sms                  Doc 1        Filed 05/08/23 Entered 05/08/23 08:58:59                                 Desc P
                                                                       Page 55 of 59
    Fill in this information to identify your case:


    Debtor 1         ANNA                       A.                   CANADY
                       First Name             Middle Name                  Last Name

    Debtor 2
    (Spouse, if filing) First Name            Middle Name                  Last Name


    United States Bankruptcy Court for the: Northern District of Georgia

    Case number
     (If known)

                                                                                                          U Check if this is an amended filing



  Official Form 122A-1Supp
  Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                                12/15

  File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
  exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
  exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
  required by 11 U.S.C. § 707(b)(2)(C).



                  Identify the Kind of Debts You Have

, 1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
I    personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 101).

     U No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
           submit this supplement with the signed Form 122A-1.
     El Yes. Go to Part 2.


                  Determine Whether Military Service Provisions Apply to You


  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

     El No. Go to line 3.
      U Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
             10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                       No. Go to line 3.
                  U Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                         Then submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
      El No. Complete Form 122A-1. Do not submit this supplement.
      U Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
           U No. Complete Form 122A-1. Do not submit this supplement.
           U Yes. Check any one of the following categories that applies:

                  O I was called to active duty after September 11, 2001, for at least          l'flri.rphoc4cp.0;.,f7)'*of,0-„tegtegtV00:!,!it0:•t#1110fy- gq1(0
                                                                                                                 :       .                      :!
                    90 days and remain on active duty.                                          Forprj!!?,?:4.t prl,#0.0R1p•f1)000:0•111p-f-Edtr 1     - :22A4;:
                                                                                                                              ,
                                                                                                9,0p1v0.5m1,1';77m1m00,411potgo.**notoppv:11.0WP4til
                  U I was called to active duty after September 11, 2001, for at least                         Then
                    90 days and was released from active duty on                                                                                             rest
                    which is fewer than 540 days before I file this bankruptcy case.
                                                                                                pffimaiii!FprolpmrpoihmtwogdosioteptiloWiTh6ii;ili
                  U I am performing a homeland defense activity for at least 90 days.           !$,0000:00,11topomp!or!rommpoivoloty,
                                                                                                 o(!prig!!p.,R,19FT90.,:,Jotpplolo!gofet*obt,iviwhOlfiti.r]
                  U I performed a homeland defense activity for at least 90 days,
                                                                                                              i
                                                                                                '..40.14aypilatlOtWaitd2111!iaseqi7.07.(b)(2)(1))00""
                    ending on                      , which is fewer than 540 days
                                                                                                  yckurexclu6k*ppriodnds]beptirply9ureasels,
                    before I file this bankruptcy case.
                                                                                                y'ciikrylawIlayotddfU.ATprriprOddlfornotorA


    Official Form 122A-1Supp                Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
Case 23-54300-sms   Doc 1   Filed 05/08/23 Entered 05/08/23 08:58:59   Desc P
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   MA FINANCE AMERICA
   10550 TALBERT AVE P02000382
   FOUNTAIN VALLEY, CA 92708

   CAPITAL ONE
   PO BOX 31293
   SALT LAKE CITY, UT 84131

   DUVERA BILLING SERVICES,LLC
   1959 PALOMAR OAKS WAY STE 340
   DBA DUVERA FINANCIAL
   CARLSBAD, CA 92011

   U.S AUTO FINANCE
   2875 UNIVERSITY PKWY
   LAWRENCEVILLE, GA 30043

   JEFFERSON CAPITAL SYSTEMS
   16 MCLELAND RD
   ST CLOUD, MN 56303

   CREDIT BUREAU ASSOCIATES OF GEORGIA
   102 SAILORS DR
   ELLIJAY, GA 30540

   HUNTER WARFIELD, INC
   4620 WOODLAND CORPORATE BLVD
   TAMPA, FL 33614

   I C SYSTEM
   PO BOX 64378,
   SAINT PAUL MN 55164

   CREDIT COLLECTION SERVICE
   PO BOX 607
   NORWOOD, MA 02062
Case 23-54300-sms   Doc 1   Filed 05/08/23 Entered 05/08/23 08:58:59   Desc P
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  US AUTO FINANCE
  6225 SMITH AVE
  BALTIMORE, MD 21209-3626

  CREDIT BUREAU, ASSOCIATES
  PO BOX 1095
  ELLIJAY, GA 30540-0014

  CREDIT MANAGEMENT LP
  6080 TENNYSON PARKWAY SUITE 100
  PLANO, TX 75024

  CREDIT COLLECTION SERVICE
  P0 BOX 607
  NORWOOD, MA 02062

  JEFFERSON CAPITAL SYSTEM
  16 MCLELAND Rp
  SAINT CLOUD, MN 56303

  PROPERTY SERVICES OF ATLANTA
  2619 SAND PLAINS RD
  MARIETTA, GA 30066

  INFINITE ENERGY
  PO BOX 71247
  CHARLOTTE, NC 28272

  SPRINT
  333 INVERNESS DR S
  ENGLEWOOD, CO 80112

   DEKALB WATER &SEWER
   774 JORDAN LANE #200 ,
   DECATUR, GA 30b33

   ALLSTATE
   2012 CORPORATE LANE STE 108
   PO BOX 4310
   NAPERVILLE, ILL 60563
Case 23-54300-sms   Doc 1   Filed 05/08/23 Entered 05/08/23 08:58:59   Desc P
                                 Page 58 of 59
   GEICO
   4295 Ocmulgee E Blvd E
   Macon, GA 31295

   PROGRESSIVE
   6300 Wilson Mills Rd
   Mayfield Village, Ohio 44143

   Titlemax
   15 Bull Street #200
   Savannah, GA 31401

   The Reserve At Stone Creek
   1420 S Hairston Rd
   Stone Mountain, GA 30088


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  LlibmA \ GA WA1
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             Case 23-54300-sms                Doc 1        Filed 05/08/23 Entered 05/08/23 08:58:59                           Desc P
                                                                Page 59 of 59
Case Number: 23-54300                            Name: Canady                           Chapter: 7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.goviservices-forms/bankruptcy/filing-without-attorney.


El Individual - Series 100 Forms                                                        •   Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                    Petition Deficiencies:
 O Complete List of Creditors (names and addresses of all creditors)                    O Last 4 digits of SSN
 O Pro Se Affidavit (signature must be notarized,                                       0 Address
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                    O Statistical Estimates
 O Signed Statement of SSN                                                              O Other:
MISSING DOCUMENTS DUE WITHIN 14 DAYS
O Statement of Financial Affairs                                                                         Case filed via:
O Schedules: A/B C D El FGHIJO J-2 (separate household of Debtor 2)               1E1 Intake Counter by:
O Summary of Assets and Liabilities                                                     0 Attorney
O Declaration About Debtor(s) Schedules                                                 ES] Debtor 404-707-5639
O Attorney Disclosure of Compensation                                                   O Other:
O Petition Preparer's Notice, Declaration and Signature (Form 119)                0 Mailed by:
1=1 Disclosure of Compensation of Petition Preparer (Form 2800)                      O Attorney
O Chapter 13 Current Monthly Income                                                  O Debtor
O Chapter 7 Current Monthly Income                                                   1=1 Other:
O Chapter 11 Current Monthly Income
O Certificate of Credit Counseling (Individuals only)                             0 Email [Pursuant to General Order 45-2021, this petition
O Pay Advices (Individuals only) (2 Months)                                       was received for filing via email]
O Chapter 13 Plan, complete with signatures (local form)
O Corporate Resolution (Non-Individual Ch. 7 & 11)                                              History of Case Association
                                                                                  Prior cases within 2 years:
MISSING DOCUMENTS DUE WITHIN 30 DAYS
O Statement of Intent — Ch.7 (Individuals only)
                                                                                  Signature:
Ch.11 Business                                                                    Acknowledgment of receipt of DeficiencyONotice
O 20 Largest Unsecured Creditors
O List of Equity Security Holders
O Small Business - Balance Sheet                                                   Intake Clerk:     R. Smith      ID Verified M Date:5/8/23
O Small Business - Statement of Operations
O Small Business - Cash Flow Statement
O Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.govionline-payments (not for chapter 13 plan payments)
      0 Paid $
       O Pending Pay.Gov, Paid $
       LII IFP filed (Ch.7 Individuals Only)
       O 2g-Order Granting               3g-Order Granting 10-day (initial payment of          oe       due within 10 days)
       LII 2d-Order Denying with filing fee of $                due within 10 days
       O No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                            You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                       All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                     UNITED STATES BANKRUPTCY COURT
                                                       75 Ted Turner Drive, SW, Room 1340
                                                              Atlanta, Georgia 30303
                                                                  404-215-1000
